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IN THE UNITED STATES DISTRICT ou | =,
FOR THE NORTHERN DISTRICT OF TEXAS CLE 9.5. pil
AMARILLO DIVISION 4 fA
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SPECIAL ORDER 3-327

Effective July 3, 2019, civil and criminal cases filed in the Amarillo Division will be

assigned by random draw as follows:

Civil Criminal
AMARILLO
Judge Matthew J. Kacsmaryk 95% 100%
Chief Judge Barbara M.G. Lynn 5% 0%

Except as otherwise ordered, effective August 1, 2019, the clerk is to reassign all Amarillo

Division cases that are assigned to Senior District Judge Fitzwater to Judge Matthew J. Kacsmaryk.

These cases shall henceforth carry the suffix letter “Z.”

Any other matter filed in the Amarillo Division that is not addressed by this order or by

another order of the court will be assigned to Judge Matthew J. Kacsmaryk if the matter requires

judicial action.
This order supersedes Amended Special Order 3-313 as it relates to the Amarillo Division.
SO ORDERED.

July 3, 2019.

ARA M.G. N
IEF JUDGE
